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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                             CRIMINAL NO. 22-212

 VERSUS                                               SECTION "I"

 RODNEY VICKNAIR                                      VIOLATION: 18 U.S.C.' 242



             NOTICE OF INITIAL APPEARANCE AND ARRAIGNMENT

Take Notice that this criminal case has been set for INITIAL APPEARANCE AND
ARRAIGNMENT on OCTOBER 7, 2022 at 10:00 A.M., before United States Magistrate Judge
Janis van Meerveld, 500 Poydras Street, Courtroom B-309, New Orleans, LA 70130.

 **IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING**
PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL
IMMEDIATELY OUTSIDE THE AFORESAID COURTROOM FOR EVALUATION
AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


Date:   September 28, 2022                    CAROL MICHEL, CLERK

TO:                                           Issued by: Bridget Gregory, Deputy Clerk

Rodney Vicknair (SUMMONS)                     AUSA:      Tracey Knight and Fara Gold

                                              S/A Chad Michael, FBI
Counsel for defendant:
Townsend M. Myers                             U.S. Marshal
4907 Magazine St                              U.S. Probation Office
New Orleans, LA 70115                         U.S. Probation Office - Pretrial Services Unit
Email: townsend@nolacriminallaw.com
                                              JUDGE

                                              MAGISTRATE
If you change address,
notify clerk of court                         COURT REPORTER COORDINATOR
by phone, 589-7752                            INTERPRETER: NONE
